Exhibit C
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


TEXAS BANKERS ASSOCIATION;
RIO BANK, MCALLEN, TEXAS; and
AMERICAN BANKERS ASSOCIATION
                                       Plaintiffs,

v.                                                       Case No: 7:23-cv-00144

CONSUMER FINANCIAL PROTECTION
BUREAU; and ROHIT CHOPRA, in his official
capacity as Director of the Consumer Financial
Protection Bureau,
                                      Defendants.



                           DECLARATION OF VIRGINIA O’NEILL


In accordance with 28 U.S.C. § 1746, Virginia O’Neill offers the following declaration:


     1. I am the American Bankers Association’s (“ABA”) Executive Vice President for

        Regulatory Compliance and Policy and am responsible for consumer protection regulatory

        policy advocacy.

     2. ABA is the voice of the nation’s $23.6 trillion banking industry, which is composed of

        small, regional, and large banks that together employ more than 2 million people, safeguard

        $19.2 trillion in deposits, and extend $12.2 trillion in loans. ABA advocates for banks

        before Congress, regulatory agencies, and the courts to drive pro-growth policies that help

        customers, clients, and communities thrive. ABA regularly advocates before the Consumer

        Financial Protection Bureau (“CFPB”) to promote regulatory and supervisory policies that
   protect consumers, while ensuring that markets for consumer financial products and

   services are fair, transparent, and competitive.

3. The purpose of this declaration is to discuss the effects of a rule finalized by the CFPB on

   March 30, 2023, to implement section 1071 of the Dodd-Frank Wall Street Reform and

   Consumer Protection Act (“Final Rule”). Section 1071 amended the Equal Credit

   Opportunity Act (“ECOA”) to require financial institutions to collect and report to the

   CFPB certain data regarding applications for credit by women-owned, minority-owned,

   and small businesses. 15 U.S.C. §1691c-2.

4. Unless otherwise stated, this Declaration is based upon my personal knowledge and belief

   and/or upon my review of business records of ABA. If called as a witness, I could and

   would testify competently thereto.

5. ABA’s membership covers depository institutions offering small business loans in each

   compliance tier category covered by Final Rule (e.g.—2,500 hundred loans or more; 500

   to 2,499 business loans; and 100 to 499 small business loans).

6. I have worked closely with many ABA members, including members of ABA’s 1071

   Working Group, to understand how the Final Rule will affect member banks. I have also

   discussed with ABA members the substantial costs that they will incur to implement and

   comply on an annual basis with the Final Rule.

7. After the CFPB released a proposed rule to implement 1071, ABA conducted a survey of

   members in November 2021, to quantify the cost of implementing and complying with the

   proposed rule. 479 banks and savings associations operating in 40 states responded to the

   survey. Survey respondents ranged from banks with assets of less than $500 million to

   more than $75 billion. The results of that survey show:



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a. 88% of respondents stated they would need to hire more full-time employees

   (FTEs) to comply with the data collection and submission requirements of the

   proposed rule and to conduct fair lending analysis of the data. The mean number of

   new FTEs required was 3. However, some community banks indicated they would

   need to hire 10 FTE.

b. 73% of survey respondents stated that to comply with the proposed data collection

   and reporting requirements, the bank would need to update commercial loan

   operating software at a median estimated cost of $29,029.

c. 33% of survey respondents stated that to comply with the proposed data collection

   and reporting requirements, the bank would need to purchase commercial loan

   operating software at a median estimated cost of $131,133.

d. 67% of survey respondents stated that to comply with the proposed data collection

   and reporting requirements, the bank would need to purchase software to assist with

   data submission to the CFPB at a median estimated cost of $23,927.

e. Survey respondents estimated the following additional one-time implementation

   costs to comply with the proposed rule (all cost estimates are median responses):

         •   Preparing/planning: $15,388

         •   Testing validating computer systems: $8483

         •   Developing applications, forms, and disclosures: $5971

         •   Training staff and third parties: $8734

         •   Developing policies and procedures: $5416

         •   Legal and compliance review: $7992

         •   Post implementation review: $9696


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8. The data collection and reporting requirements of the Final Rule are almost identical to those of the

    proposed rule; therefore, the survey data provide accurate median estimates of the implementation

    costs required to comply with the Final Rule.

9. ABA has advised its members to begin implementation immediately in order to meet the

    compliance dates established by the Final Rule.

10. ABA members currently are taking steps to implement the Final Rule. As a result, our members

    are already incurring or are about to incur direct economic injury caused by the Final Rule.

I declare under penalty of perjury that the foregoing is true and correct.


                                        Executed on this 12h day of May, 2023 in Washington, DC.




                                         _______________________________________________________
                                         Virginia O’Neil




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